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                              IN TTIE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF DELAWARE


In re:

ESSAR STEEL MINNESOTA LLC                       ANd        Chapter    11
ESML HOLDINGS INC.,I
                                                           Case   No. 16-11626 (BLS)
                                  Debtors.
                                                           (Jointly Administered)

SC MESABI             LITIGATION TRUSTEE,

                                   Plaintiff,

                                                           Adv. Proc. No. 18-50555 (BLS)

CENTRAL BANK OF INDIA AND EXPORT
IMPORT BANK OF INDIA,

                                   Defendants.

      OPENING BRIEF OF DEFENDANTS CENTRAL BANK OF INDIA AND EXPORT
             IMPORT BANK OF INDIA IN SUPPORT OF THEIR MOTION
                         TO DISMISS THE COMPLAINT

Dated: November 5,2018                                     LANDIS RATH & COBB LLP
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                                                            and Export Import Bank of India


t
  Essar Steel Minnesota LLC has changed its name to Mesabi Metallics Compay LLC. The last four digits of its federal
taxpayer identification number are 8770. The last four digits of ESML Holdings Inc.'s federal taxpayer identification
number are 8071.



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             Defendants Central Bank of India ("CBI") and Export Import Bank of India ("EIBI" and,

together with CBI, the "SC Lenders" or "Defendants") submit this opening brief in support of their

motion to dismiss (the "Motion") the Complaint to Avoid Fraudulent Transfers Pursuant to I l

U.S.C. S 548 and 550; Object             to Claim Nos. 144 and 154; and Avoid All Liens related to Such

Transfers and Claims against Defendants (the "Complaint" or "Compl.") of Bradley E. Scher, the

SC Mesabi          Litigation Trustee (the "Trustee")   as successor-in-interest to Essar Steel Minnesota      LLC

("ESML") for failure to state a claim upon which relief                can be granted pursuant to Federal Rule    of

Civil Procedure 12(bX6) ("Federal Rule 12(b)(6)).2 In support of the Motion,                           Defendants

respectfully state as follows:

                                         PRELIMINARY STATEMENT

             The Trustee's Complaint is an effort to perpetuate the fraud initiated by ESML while

building       -   or purporting to build    -   a large iron ore mine and pellet plant in Minnesota (the

"Project"). The Project was, in the words of the Trustee, an "illegal shell game" which "left nearly

$2    billion in unpaid claims,"3 including approximately          $   150   million owed to the Defendants. ESML

was an active participant in this fraudulent scheme. Indeed, the Project was a "billion dollar scam

perpetrated by the directors and officers of ESML . . . to siphon off ESML construction project funds

in blatant acts of self-dealing."a


2
    Federal Rule l2(bX6) is made applicable to this proceeding by Federal Rule of Bankruptcy Procedure ("Bankruptcy
Rule") 7012.
3
    See   Opposition to Essar Gtobat Fund Limited, Essør Project Management Company Limited, and Essar Constructions
Limited's Partial Motion to Dismiss, Essar Steel Minnesota LLC, v. Essar Global Fund Limited et al., Adv. Proc. No.
17-50001 (BLS) (the "Essar Affiliates Adversary Proceeding"),D.L 82, al2.

a
  See Second Amended Complaint,Essar Affiliates Adversary Proceeding (Nystrom v. Vuppuluri et øl), Adv. Proc. No.
17-5000I-BLS,D.I.61,11 1. Asdiscussedfurtherinfra,theTrusteeincorporatesintohisComplaintagainsttheSC
Lenders the First Amended Complaint ("FAC") in the Essar Affiliates Adversary Proceeding. Compl. fl 42. The FAC
was later bifurcated into two second amended complaints: one brought by the Trustee against the Essar Affiliates, and
one brought by the Litigation Trustee for the UC Litigation Trust against ESML's former offìcers and directors (the
"Individual Complaint").


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              The Trustee's outrage at the conduct of ESML and its directors and officers is justified. His

Complaint against the SC Lenders is not. Despite detailing the harm caused by ESML and its

affiliates, the Trustee asks this Court to recognize a claim founded in ESML's own conduct, and to

recover on account of that conduct from one of the primary victims of ESML's scam, the SC

Lenders.

              The Complaint is contradictory, offensive and lacks any merit. But this is not mere

editorializing. The Complaint's contradictions have practical consequences: they vitiate necessary

elements of the causes of action such that the Trustee has failed to state any claims. The Complaint

must be dismissed accordingly.

                             NATURE AND STAGE OF'THE PROCEEDING

              On July 8,2016 (the "Petition Date"), ESML and its directparent company, ESMLHoldings

Inc. ("Holdings") (together, the "Debtors"), filed        a   voluntary petition for relief under chapter l1 of

title    11   oftheUnited States Code,   11   U.S.C. $ I0I et seq. (as amended ormodified, the"Bankruptcy

Code"), in the United States Bankruptcy Court for the District of Delaware (the "Court").

              On September 30, 2076, the SC Lenders filed proof of claim no. 144 in the amount of

$150,416,096 as a secured claim against Holdings and proof of claim no. 154 in the amount of

$150,416,096 as a secured claim against ESML.

              On June 13,2011, the Court entered the Findings of Fact, Conclusions of Law and Order

Confirming the Third Amended Chapter I I Plan of Reorganizatíonþr Mesøbi Metallics Company

LLC (f/k/a Essar Steel Minnesota LLC) and ESML Holdings 1nc., No. 16-11626 (BLS), [D.I. 1025]

(the "Confirmation Order"). The Confirmation Order confìrmed the Third Amended Chapter I I

Plan of Reorganization of Mesabi Metallics Company LLC (f/k/a Essar Steel Minnesota LLC) and

ESML Holdings 12c., No. 16-11626 (BLS), [D.I. 990] (the "Plan"). The effective date of the Plan

was December 22,2018 (the "Effective Date"). The Plan provided for pari passø treatment in a

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single creditor class of all the prepetition secured lenders' claims, including those of the SC Lenders.

See id.

                 On the Effective Date, the Debtors, Mesabi Metallics Company LLC (the reorganized

company) and Bradley E. Scher, as Trustee, executed the SC Litigation Trust Agreement (the "Trust

Agreement") establishing the SC Mesabi Litigation Trust (the "Trust") and appointing Mr. Scher                   as


Trustee.

                 On June 20,2018, the Trustee filed his Complaint against the SC Lenders.

                 Counsel for the SC Lenders agreed to accept service on the SC Lenders' behalf on July 20,

2018.

                 The SC Lenders now file this opening brief in support oftheir Motion for an order dismissing

the Complaint, with prejudice, for failure to state a claim upon which relief can be granted pursuant

to Federal Rule 12(b)(6). This opening brief is filed contemporaneously with the Motion pursuant to

the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the

District of Delawar e 7 007 -I         .




                                           SUMMARY OF

                 1.       By this Motion, the SC Lenders seek entry of an order dismissing the Complaint

because           it fails to state a claim upon which relief   can be granted. For the following reasons, the

Court should dismiss the Complaint.

                 2.       The Trustee's contradictory allegations in the Complaint vitiate each of the Trustee's

claims for relief. The Trustee predicates his claims against the Defendants on the theory that the

Defendants lent to an affiliate of ESML, EPIL, received their security interests in ESML's collateral



s
 Capitalizedterms not otherwise defined in this Summary of Argument section shall have the same meanings ascribed in
subsequent sections ofthis opening brief.




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as an assignee        of EPIL, and that the grant of those interests is avoidable due to thebreachbyEPIL of

its reciprocal contract obligations to ESML. To support this theory, the Trustee, at times, portrays

ESML        as   having had a bona fide expectation of contract performance by EPIL. The Trustee also

alleges, however, that EPIL and ESML were part of a "single business enterprise"                  -   that they were

one and the same             -   and that EPIL's purported "breach" was part of a scam orchestrated, in part,     by

ESML itself. The Trustee cannot have it both ways. If ESML and EPIL are a single business

enterprise, then the SC Lenders' liens were directly granted by this single business enterprise

(meaning the money lent to the enterprise, not EPIL's performance, is consideration for the lien);                 if
ESML orchestrated the fraud, then EPIL's "breach" is a fiction, and the SC Lenders' liens should not

be voided by         EPIL's non-performance. In continuing to foist ESML's construct on the SC Lenders

by way of this Complaint, the Trustee perpetuates ESML's fraud.

             3.        Furthermore, the Trustee has failed to state a claim for constructive fraud for at least

three reasons. First, the Complaint contains no facts supporting the conclusory allegation that the

Debtors were insolvent at the time of the challenged transfers. Second, the Complaint contains no

facts supporting the conclusory allegation that the Debtors did not receive reasonably equivalent

value at the time of the challenged transfers. To the contrary, the Complaint admits it is improperly

assessing value in           hindsight. Finally, the Complaint mischaracterizes the consideration supporting

the challenged transfers. Defendants' agreement to lend (and actual loans), not the allegedly

defective contract performance of the Debtors' affiliate, supported the transfers.

             4.        The Trustee's actual fraudulent transfer claim must also fail because the Complaint

does not contain any facts             - much less the detailed facts required by Rule 9(b) - sufficient   to support

an inference that the Debtors acted              with intent to defraud creditors. Indeed, the Complaint freely

admits the nonfraudulent motives underlying the challenged transfers.



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             5.         Further, the Trustee's count for disallowance of the SC Lenders' claims pursuant to

section 502(d) of the Bankruptcy Code must fail because it is based entirely on the Complaint's

allegations that the SC Lenders' security interests are avoidable as fraudulent transfers. The Trustee,

however, has not obtained a judicial determination on the fraudulent transfer contentions, which is a

prerequisite to survive summary dismissal. Thus, the claim for disallowance or reduction ofthe SC

Lenders' claims must be dismissed.

             6.         Finally, the Trustee has not stated and cannot state a claim for equitable subordination

because the Trustee fails to plead any facts in support of (much less required to satisff) the three-part

test adopted in this          Circuit. First, the Trustee   has not pleaded a single factthat would tend to show

that the SC Lenders behaved inequitably. To the contrary, the Trustee's allegations demonstrate that

the SC Lenders participated in            a   typical, non-insider, lender-borrower relationship with respect to the

Debtors, which is not inequitable as a matter of law. Second, because the Trustee has not pleaded

that the SC Lenders engaged in inequitable conduct, the Trustee cannot establish that any creditor

was harmed or that the SC Lenders received an unfair advantage by obtaining security interests                   in

ESML's collateral. Third, in this case, equitable subordination is incompatible with other

Bankruptcy Code provisions and would frustrate the doctrine's purpose because subordinating the

SC Lenders' claims only would serve to penalize the SC Lenders.

      STATEMENT OF \ilELL.PLEADED ALLEGATIONS OF THE COMPLAINT AND
      ADDITIONAL FACTS THAT THE CO T MAY CONSIDER ON THIS MOTION

             Set forth below are the well-pleaded, non-conclusory allegations in the Complaint. These

include allegations from the FAC, which the Trustee fully incorporates by reference into the

Complaint.          ,See   Compl   .f\42. Also   referenced herein, where necessary, are those documents integral




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to or explicitly relied upon in the Complaint                as   well as other pleadings in the Essar Affiliates
                                                                                                                  6
Adversary Proceeding and in related proceedings of which the Court can take judicial notice.

               The Parties

               ESML is a limited liability company organized under the laws of the State of Minnesota.

It is   a     wholly-owned subsidiary of Holdings. Id. at           I12.     ESML and Holdings are the Debtors

in this ongoing bankruptcy case. Essar Projects India Limited ("EPIL") is an affiliate of ESML

and is the entity within the Essar Group to whom the SC Lenders provided a loan. See                      id.   atll
I,14,23; seeFAC               1[1T   17, 79,2I. According to the Complaint, ESML and EPIL both are

ultimately held by Essar Global Fund Limited ("Essar Global") and form a "single business

enterprise." FAC              ffiz,5.
               The SC Lenders are comprised of CBI and EIBI, both banks organized under the laws                   of

India. Compl. TT 13, 14. The SC Lenders are beneficiaries of the "Trust formed pursuant to the

Plan. As authorized by the Plan, the SC Lenders have designated a member of the SC Mesabi

Litigation Trust Advisory Board.

               Plaintiff in this action is Bradley E. Scher, in his capacity       as theTrustee   of the Trust. The

Trustee is the successor-in-interest to ESML. Id.                 atll II,   40.

               The History of the Proiect and the Security Interests in ESML's Collateral

               ESML undertook to build the Project, alarge-capacity, state-of-the-art iron ore mine and

pellet plant, in Nashwauk, Minnesota. Id.                atll.      In fact, the Project was, in the words of the

  See In re Burlington Coat Factory Secs. Litig.,1 14 F.3d l4l}, 1426 (3d Cir. 1997) ("As a general matter, a district
6

court ruling on a motion to dismiss may not consider matters extraneous to the pleadings . . . However, an exception to
the general rule is that a 'document integral to or explicitly relied upon in the complaint' may be considered "without
converting the motion [to dismiss] into one for summary judgment.") (intemal citations omitted) (quotingShaw Digital
Equip. Corp., 83 F.3d 1194,1220 (1st Cir. 1996)); see also Pension Benefit Guar. Corp. v. Iilhite Consol. Indus., Inc.,
998F.2d1192,1196(3dCir. 1993)(courtmay"consideranundisputedlyauthenticdocumentthatadefendantattaches
as an   exhibit to a motion to dismiss if the plaintiffs claims are based on the document").




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Trustee, an "illegal shell game" which "left nearly $2 billion                    in unpaid claims,"7 including

approximately $150 million owed to the Defendants. Id. at fl 26. The Trustee alleges that ESML

was an active participant in this fraudulent scheme. FAC IT 6, 110, 124. In fact, the Project was a

"billion dollar       scam perpetrated by the directors and officers           of ESML . . . to siphon off ESML

construction project funds in blatant acts of self-dealing."8 Nevertheless, Plaintiff (as successor-in-

interest to ESML) now seeks to recover by this action from one of the primary victims of ESML's

scam, the SC Lenders.

             ESML and its affiliates conceived the Project in 2008. Compl.                1[   18. In 2010, at the direction

of its parent entity, Essar Global, ESML restructured its Project contracts. Id.                      atll20-21.    To this

end, ESML entered into a contract with its affiliate, EPIL, dated May 5,2070, for the procurement                         of

offshore goods and the supply                 of   engineering services for $215 million (the "Supply and

Engineering Contract"). Id,              atll2I. The pulpose of this restructuring was to "minimize U.S. tax
liability''and                                                       secured              EPIL." Id.     at '1f 22 (emphasis

added). That "additional lending" to the Project was provided by the Defendants, the SC Lenders, as

discussed       below. Id. atl23.

             Obtaining sufficient financing was critical to the Project's success. Compl. fl 3. Thus, in

2010, ESML entered into a credit agreement with a group of Indian banks (the "Project Finance

Lenders") which provided for ESML to borrow $530 million. FAC Tf 82-83. In addition, in or

around August 2010, a different set of Indian banks              -   the SC Lenders   -   agreed to fund the Project by

making loans in the amount of Rs. 600 crore to EPIL (the "Letters of Sanction"). Compl. fl 23. The

SC Lenders' financing was contingent on ESML providing security for the loan to EPIL in the form


7
    See   Opposition to Essar Global Fund Limited, Essar Project Management Company Limited, and Essar Constructions
Limited's Partial Motion to Dismiss, Essar Affiliates Adversary Proceeding, D.I.82, at2.
8
    See Individual Complaint   fl   1.




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of a mortgage on ESML's property and the pledge of ESML's shares, in addition to an assignment of

EPIL's contractual rights. SeeDeclaration of             James D. Bailey, dated November 5,2018 (the          "Bailey

Decl."), Ex.         A.       This security interest in ESML's property was to    be   pari passu with the Project

Finance Lenders. Id.

             This security obligation in favor of the SC Lenders was not onlymemorialized in the Letters

of Sanction, but it was also memorialized in the Project Finance Lenders' credit agreement, which,

unlike the SC Lenders' loan, was entered into directly with ESML (the "2010 Credit Agreement").e

In furtherance of this securityinterest, ESML entered into            a   security agreement dated December29,

2010, granting a security interest in its collateral to, inter alia, the "lenders in respect of the Supplier

Financing." See Compl. tf 25(a); see also Bailey Decl., Ex B, at 4.

             The SC Lenders agreed to increase their loan to EPIL to Rs. 900 crore pursuant to a facility

agreement dated June 1, 2012 (the "Facility Agreement"). Compl. ll 23. EPIL's borrowings under

the Facility Agreement were to be secured by, "an assignment by EPIL to the SC Lenders of all

contracts, rights, securities and insurances with respect to ESML."                Id. In addition, as set forth in

section 3.2.I of the Facility Agreement, the SC Lenders' loans were to be secured by,                           (i)   an

assignment of the Project Finance Lenders' and EPIL's mortgage over ESML's property; and (ii) an

assignment of a pledge of 5IYo of shares of ESML created in favor of the Project Finance Lenders




e
  Specifically, the 2010 Credit Agreement between the Project Finance Lenders and ESML requires ESML to create "for
the ratable benefit of the Secured Parties a valid and enforceable security interest in the Collateral . . . owned by
[ESML]." SeeBalleyDecl.,Ex.C. The20l0CreditAgreementdefines"SecuredParties"toinclude"eachofthe
Upstream Supplier Financing Creditors (sharing pari passu in respect of the security interests of the Lenders in the
Collateral, directly or through EPIL under the Supplier Financing)." Id. The "Upstream Supplier Financing Creditors"
are further defined in that agreement as "the providers of supplier financing to EPIL, namely, the Export-Import Bank of
IndiaandtheCentralBankoflndia." SeeFACllS3;seealsoBalleyDecl.,ExB,at33. Inotherwords,theSCLenders
- not just EPIL - are identified by name in the Project Finance Lenders' 2010 credit agreement as having a shared
security interest in ESML's collateral.




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and             EPIL. SeeBailey Decl., Ex. D, at25. EPIL executed an Assignment Deed on June 1,2012,

assigning its rights as against ESML to the SC Lenders.r0 Compl.n24.

                       On June 14,2012, ESML provided an acknowledgement ofthe assignment to CBI, as facility

agent for the SC Lenders, stating that ESML consented to the terms of the assignment. SeeBaíley

Decl., Ex. E. In addition to consenting to the assignment, ESML acknowledged that it would not,

without the prior written consent of the SC Lenders, "incur, assume or raise any further secured debt

for the Project and create any Security Interest therefor rankingpari passu with the Project Lenders

on the Assigned Contract . . . during the currency of the Facilities." 1d. ESMLrepeated this promise

to the SC Lenders in an "Undertaking" dated the same day, which was entered into "in consideration

of the ISC Lenders] granting the Facilities to IEPIL] to enable IEPIL] to comply with the terms                       of

the f Supply and Engineeringl Contract." Id. atBx.F.

                       OnMarch 3,20|4,ESML and EPIL entered into aletteragreementamendingthe Supplyand

Engineering Contract between the two parties (the"20l4 Letter Agreement"). Id.at Ex. G. On the

same day,                  (i) ESML created a mortgage on its property in Minnesota in favor of EPIL in the amount

of          $   1   82.75    million (Compl.   I   25 (c)); (ii) EPIL assigned its rights in the 2014 Letter Agreement to

the SC Lenders; (Bailey Decl., Ex. H); and (iii) EPIL assigned that mortgage to the SC Lenders,

consistent with its obligations under the Letters of Sanction and the Facility Agreement.                       1d.


                       ESML needed additional financing for its Project in20l4. FAC            I93.   ESML thus entered

into a Credit and Security Agreement on September 30,2014 with a consortium of lenders (the

"Term Loan Lenders") led by U.S Bank, N.4., as agent ("U.S. Bank"), pursuant to which the Term

Loan Lenders committed $450 million to ESML. Id.                             atll93-94. In light of the introduction of a

third set of secured lenders, ESML entered into an amended and restated security agreement dated

t0
  Notably, ESML itself already had documented the SC Lenders' security interest in its collateral in the 2010 Credit
Agreement and the 2010 Security Agreement.



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September 30, 2014, pursuant to which ESML granted liens on, and a security interest in,

substantially all of its assets to secure amounts owed to its secured creditors. Compl.ll25(d). These

secured creditors included the SC Lenders. See Balley Decl., Ex.           I. Indeed, the Trustee himself
admits that ESML "secured" the financing from the SC Lenders: "To fund the Project, ESML

entered into financing agreements and loan commitments totaling $980            million fthe $530 million

from the Project Finance Lenders and the $450 million from the Term Loan Lendersl from Indian

and U.S. lenders, [and] secured an additional commitment for approximately $180         million ofProject

financing [from the SC Lenders]." FAC T 80.

              Also on September 30,2014, ESML entered into an Intercreditor Agreement with its three

sets     of secured lenders (the "Intercreditor Agreement"). Bailey Decl., Ex. J. The Intercreditor

Agreement describes ESML's secured obligations to each ofthe three sets of secured lenders (the SC

Lenders, the Project Finance Lenders, and the Term Loan Lenders) and provides, among other

things, that each of the three sets of secured lenders shall,        if necessary, recover from ESML's
collateral on a parí passubasis. Id.

              The Allegations Against the SC Lenders

              Despite the fact that the SC Lenders have loaned over $150 millionto theProject, and despite

the Trustee's acknowledgement and admission of the funding and its security, the Trustee (as

successor-in-interest to ESML) now objects to the SC Lenders' claims in bankruptcy and seeks to

avoid the transfer of any liens or money to the SC Lenders. Notably, the Trustee has not objected to

or challenged the claims or liens of any of the other secured creditors that provided financing to the

Project.

             The Trustee's claims against the SC Lenders are not predicated on any alleged (much less

actual) wrongdoing of the SC Lenders but are instead based upon the alleged breach of the Supply



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and Engineering Agreement by                   EPIL. Compl. IT 3-4. The Complaint alleges that "EPIL committed

numerous serious and substantial breaches of its contract with ESML," (!d.at fl 3) and that "[a]s an

assignee, the SC Lenders' Claims are subject to all of the defenses the Debtors could assert against

the assignor." Id.              atll4.   Nowhere does the Complaint allege that the SC Lenders failed to loan

money to the Project as agreed under the Letters of Sanction or Facility Agreement. According to

the Trustee,         "[i]n view of the fact that the rights of the SC Lenders           are derivative of, and limited to,


EPIL's rights against the Debtors, the SC Lenders' liens are subject to avoidance and the                             SC


Lenders' claims are without ment."                     Id. Nowhere does the Complaint         allege that there was any

defect in the security provided to the SC Lenders in exchange for and in connection with their

agreement to provide financing.

              Instead, the Trustee alleges in entirely conclusory fashion that any transfers (of liens or

security interests) to the SC Lenders were made by ESML "when the Debtors were insolvent and for

lessthanreasonablyequivalentvalue." Id.atl5;seeaLsoid.at1126,48,49,60,61,75,76,87,88.

With respect to its intentional fraud claims, the sole conclusory allegation is that that avoidable

transfers were "made with the actual intent to hinder, delay, or defraud present and future creditors,"

though it does not specify whom harbored such a fraudulent intent. Id.                        atll64,97.

              In similar conclusory fashion, the Complaint alleges that the SC Lenders "have engaged in

inequitable conduct . . . which has resulted in injury to the creditors or conferring of an unfair

advantage on the Defendants" thato'has resulted in harm to the Plaintiff and its entire creditor body

in that creditors have been misled as to the true financial condition of Plaintiff, have been induced to

extend credit and/or provide services without knowledge of the actual facts regarding Plaintiffs' [sic]

financial condition, and are less likely to recover the full amounts due to them because of

Defendants' conduct." Id.                at\   11   1. The Complaint does not, however, allege any factual basis for



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Defendants' "misconduct" or misleading of creditors. To the contrary, the Complaint alleges only

that Defendants "failed to account for" what is alleged to have been                   a   "significant (negative) shift in

the exchange rate of the Indian rupee (Rs.) vis-à-vis the United States Dollar" and that the

Defendants "knew or should have known that there was a financing shortfall" and "made no effort to

remedy" ít. Id.          atl1I2.
             The Contr¿dictory Allegations in the Complaint

             The Complaint    -    especially because it has incorporated by reference the allegations of the

FAC in the Essar Affiliates Adversary Proceeding                 -   is rife   with contradictions. For example, while

the Trustee asserts in the Complaint that the "SC Lenders never advanced funds or a loan to either

Debtor," (Id. at fl 4), he also alleges (in the FAC) that ESML was part of a "single enterprise" with

Essar Global and its affiliates. FAC T             5. In other    words, EPIL and ESML were, according to the

Trustee, one and the same. Indeed, the FAC alleges that "Essar Global controlled and dominated all

aspects       of Plaintiff, causing Plaintiff to have no             separate existence and         to act merely as an

instrumentality and alter ego of Essar Global." Id. atl369.11

             ESML was not      a passive   participant in this scheme. The pleadings in the Essar Affiliates

Adversary Proceeding allege in detail how ESML, through its officers and directors, facilitated this

fraud on its creditors. See id. atflfl6,      1   10,   I24. For example, in20l5, ESML's CEO "caused ESML

to pay IEPIL] $17 million so that Essar Global could make a $16 million equity contribution to

ESML thereafter." Id. atn124. The ESML officers "also participated in an invoicing scheme with

Essar Projects-US, in which ESML             knowingly paid invoices for work that was never performed and

for which ESML had received no reciprocal value." Id. atll 1 10. The entire Project was "a billion

tt See also FAC 2 ("ESML was treated as if it existed solely for the benefit of the Essar Global enterprise, without
                  11
regard for ESML's interests or its creditors."); id. at fl 135 ("ESML was used as a pawn to provide liquidity to Essar
Global (or affiliates).").




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dollar      scam                                                          . . . to siphon   off ESML construction

project funds in blatant acts of self- dealing."l2

              Term Loan Lenders' Breach of the Intercreditor Agreement

              On December 22,2017, an hour before the Debtors filed their notice of the Effective Date,

which would (among other things) permit distributions to be made to the secured lenders under the

Plan, U.S. Bank, as agent for the Term Loan Lenders, filed an objection to the SC Lenders' claim

(the "Claim Objection"), asserting nearly identical arguments to those put forward by the Trustee

here. Compl. fl a3.

              By filing the Claim Objection, the Term Loan Lenders' breached the Intercreditor Agreement

among ESML's secured lenders. In light of the Intercreditor Agreement's New York forum

selection clause, the SC Lenders sued the Term Loan Lenders for breach of the Intercreditor

Agreement in the United States District Court for the Southem District of New York. See Central

Bank of India et al. v. U.S. Bank N.A., No.       1:   18-cv-00534 (KBF) (SDNY) (the "New York Action").

On      April 30,2078, the SC Lenders moved for partial summary judgment against the Term Loan

Lenders in the New York Action, seeking a declaratory judgment that the Term Loan Lenders were

in breach of the Intercreditor Agreement. See New York Action, lD.Ll9-221.

              In their opposition to the SC Lenders' motion for summary judgpent, the Term Loan

Lenders argued that any "putative" breach of the Intercreditor Agreement is moot because the

Trustee was "in the process of filing a substantially similar objection before the Bankruptcy Court

consistent with [his] charge as SC Litigation Trustee." See Opposition                      of U.S. Bank National

Associatíon,           in its Capøcity as Term Loan      Agent, to Plaíntiff's Motion        for Partial Summary

12
  Individual Complaint, ll. See footnote 4, suprø. According to the UC Litigation Trustee, "[u]sing abyzantirrc maze
of corporate structures to obfuscate their malfeasance . . . , fthe former CEO and CFO of ESML] and their cohorls bled
ESML dry, causing IESML] and its creditors billions of dollars in damages." 1d. Of course, in the instant Complaint,
the Trustee attempts to sweep the role of ESML's officers under the rug by barely alluding to them.



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Judgment, New York Action [D.I.23]. At that time, however, the Trustee had not yet filed the

above-captioned adversary proceeding so the Term Loan Lenders' "putative" breach was only

prospectively moot (to the extent it is moot at all).

              In lieu of actuallyhaving filed a case against the SC Lenders, and despite the fact that the SC

Lenders also are beneficiaries of the Trust, the Trustee provided U.S. Bank with a declaration in

support of the Term Loan Lenders' opposition to the SC Lenders' summary judgment motion. See

Declaration of Bradley E. Scher, Trustee of the SC Mesabi Litigation Trust, In Connection with the

Opposition ofU.S. Bank National Association, in its Capacity as Term Loan Agent to the Plaintifß'

Motion for Summary Judgment, dated May 30, 20I8,New York Action, lD.I.26l.t3 Lo and behold,

the Trustee filed the instant action objecting to the SC Lenders' claims several weeks later, on June

20,2018.

             In addition to his objection seeking disallowance or reduction ofthe SC Lenders' claims (the

Sixth Cause of Action), the Trustee also has asserted two claims for constructive fraudulent transfer

(the First and Third Causes of Action), two claims for intentional fraudulent transfer (the Second and

Fourth Causes of Action), a claim seeking declaratory judgment on the validity of the SC Lenders'

liens (the Fifth Cause of Action), and a claim for equitable subordination (the Seventh Cause of

Action). The recovery sought by the Trustee against the SC Lenders is in addition to the recovery

the Trustee is seeking from the Essar Affiliates and the former CEO and CFO of ESML in the Essar

Affiliates Adversary Proceeding. According to the allegations in the respective complaints, one

group of defendants is the mastermind and perpetrators of           a   billion-dollar fraud; the other is a set of

lenders out $150 million, and not accused of any wrongdoing. The Term Loan Lenders, which,

through their agent U.S. Bank, blocked distributions to the SC Lenders under the Plan by filing their

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   The motion is fully submitted and the parlies are waiting on a decision from the Court on the motion for summary
judgment.



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eleventh-hour Claim Objection in violation of the Intercreditor Agreement, stand to gain from the

causes      of action asserted by the Trustee in the Complaint.

                                                ARGUMENT

            To survive a motion to dismiss under Federal Rule 12(b)(6), a plaintiff must allege well-

pleaded facts with sufficient detail to "state a claim to relief that is plausible on its face." Bell Atl.

Corp. v. Twombly, 550 U.S. 544,570 (2001); Fowler v. UPMC Shadyside,578 F.3d 203,210 (3d

Cir.2009). A complaint offering only "labels and conclusions" or a "formulaic recitation of the

elements of a cause of action" is      insufficient. Twombly,550 U.S. at 555. The Supreme Court          has

clarified that "conclusory or 'bare-bones' allegations will no longer survive         a   motion to dismiss:

'threadbare recitals of the elements of a cause of action, supported by mere conclusory statements,

do not suffice."' Fowler,578 F.3d at2l0 (citing Ashøoftv. Iqbal,556 U.S. 662,618 (2009)).

            Under this standard, "the tenet that a court must accept as true all ofthe allegations contained

in   a   complaint is inapplicable to legal conclusions." Iqbal,556 U.S. at 678. The Third Circuit has

adopted a two-part analysis courts must employ when deciding a motion to dismiss for failure to

state a     claim. "First, the factual and legal elements of a claim should be separated" with the

reviewing court accepting "all of the complaint's well-pleaded facts as true, but. . . disregardfing]

any legal conclusions." Fowler, 578 F.3d at 210-11. Next, the reviewing court must "determine

whether the facts alleged in the complaint are sufficient to show that the plaintiff has a 'plausible

claimforrelief."'Id.;Gellertv.ColtecIndus.,Inc.(InreCrucibleMaterialsCorp.),Adv.No.                      11-

53884, 2}l2Bankr. LEXIS 5102, at *9 (Bankr. D. Del. Oct. 31,2012). Accordingly, a complaint

must do more than simply state that the plaintiff is entitled to relief; it must show such an entitlement

with its facts. Id. "As the Supreme Court instructed inlqbal, '[w]here the well-pleaded facts do not

permit the court to infer more than the mere possibility of misconduct, the complaint has alleged          -

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but it has not 'shown'       -    that the pleader is entitled to               relief."' Fowler,578     F.3d at   2ll (internal
citations omitted).

           In deciding a12(b)(6) motion, a court may consider "documents attached to the complaint as

an exhibit or incorporated in it by reference, . . . matters of which                   judicial notice may be taken, or . . .

documents either in plaintiffs' possession or of which plaintifß had knowledge and relied on in

bringingsuit."'Chambersv.TimeWarner,Inc.,282F.3dI47,I53(2dCir.2002);seealsoPension

Benefit,ggïF .2d at 1196 (court may consider                   an   undisputedly authentic document that a defendant

attaches as an exhibit to a motion to dismiss             if   the   plaintiff s claims       are based on the document).     A

court may also rely on matters of public record, including the court's own docket. Oshiver v. Levin,

Fishbein, Sedran & Berman,38 F.3d 1380, 1384 n.2 (3d Cir. 1994).

           When a complaint relies, directly or indirectly, upon public documents or documents

referenced in the Complaint and there is no dispute as to their authenticity, the documents                                 will

control over contradictory allegations in the complaint. Goldenberg v. Indel, Inc.,74I F. Supp. 2d

618, 624 (D.N.J. 2010) (citing ALA, Inc. v. CCAIR, Inc.,29 F.3d 855, 859 n.8 (3d Cir. 1994))

("Where there is a disparity between a written instrument annexed to a pleading and an allegation in

the pleading based thereon, the written instrument                       will control.").

           A complaint      can   fail for what it admits       as       well   as for what   it omits. Thus, a "plaintiff . . .

can plead himself out of          court." Villareal v. R.J. Reynolds Tobacco Co.,                    839 F.3d 958, 971    (II1}r

Cir. 2016), cert. denied,         _   U. S.   _, I3l S. Ct. 2292 (2017). If a plaintiff alleges facts that show he
has no claim, "he's out of            luck." Earlyv. Bankers Life and Cas. Co.,959F.2d75,79 (7th Cir.

1992). Furthermore, a"party is bound by the admissions in his pleadings." Best Canvas Prods. &

Supplies, Inc. v. Ploof Truck Lines, Inc.,7I3 F.2d 618,621                           (llth Cir. 1983).




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       I.        The Trustee Fails to Plead the Necessary Elements of [Iis Claims âs a Result of
                 Contradictory Allegations

            The Trustee pleads contradictory allegations against Defendants and thereby fails to state

a claim.


            The Trustee does not allege any wrongdoing against the SC Lenders. Nowhere does the

Complaint allege that the SC Lenders failed to agree to lend money, or actually failed to lendmoney,

to the Project. Any purported infirmity in their liens against the Debtors is a result of the fact that

the SC Lenders were "assigned" those liens by EPIL, and therefore step into the shoes of (the flawed

creditor) EPIL. According to the Trustee, because EPIL "breached" its obligations to its affiliate,

ESML, the grant of those liens is voidable. At the same time, the Trustee alleges that ESML was

part of a "single business enterprise" with its affiliates (including EPIL). FAC 115.14 If the Essar

companies were indeed a single business enterprise, as the Trustee alleges, then: (1) the "enterprise"

(and not EPIL as assignor) granted the liens to the SC Lenders, so the SC Lenders were not an

"assignee" of the liens and (2) any purported "breach" by EPIL is a fiction because the "enterprise"

had contracted with itself, and authorizedthe breach.

            In fact, the Trustee (through its incorporation of the facts from the Essar Affiliate Adversary

Proceeding) goes a step further, alleging that the whole Project was a fraud ("an illegal shell game"),

and that ESML          -    through its officers and directors   -   was an integral part. When   it comes to the SC

Lenders, however, the Trustee wants to maintain the fiction that ESML and EPIL were separate

entities, that ESML had a legitimate expectation of EPIL's performance of its obligations under its

contract with ESML, that ESML was injured as a result of such "breach" and has defenses against




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  See also FAC 1T 369. ("Essar Global controlled and dominated all aspects of Plaintiff, causing Plaintiff to have no
separate existençe and to act merely as an instrumentality and alter ego of Essar Global.").



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EPIL's (innocent) assignors, the SC Lenders. In reality, continuing to pursue this objection against

the SC Lenders just furthers ESML's fraud.

                As Chief Judge Sontchi recently acknowledged, "fa]lthough the Federal Rules of Civil

Procedure allows aparty to plead inconsistent allegations in the altemative, seeFed. R. Civ. P.

8(dX2), contradictory allegations sometimes are a reason to support dismissal." JCF AFFM Debt

Holdings, L.P. v. Affirmative Ins. Holdings, Inc. (In re Affirmative Ins. Holdings, Inc.),565 B.R.

566,586 n.95 (Bankr. D. Del. 2017) (citingMaloney v. Scottsdale Ins. Co.,256F. App'x 29,32 (9th

Cir . 2007)). Here, the Trustee's allegations are not pleaded in the altemative. The primary source                of

the Trustee's contradictory allegations is the Essar Affiliates Adversary Proceeding. The Trustee

incorporates by reference in the Complaint the allegations from the FAC. Compl. fl 42. He then

repeats and realleges in the Complaint each and every allegation (including those from the FAC)

when setting forth each and every cause of action. See id. atfl\44,56,70,83,97,101, 110. The

Complaint's contradictory allegations, therefore, far from being pleaded in the altemative, are part

and parcel           of each cause of action.   See Rieger v. Drabinslry      Q" re Livent, Inc. Noteholders   Secs.


Litig.), 151 F. Supp. 2d 371,407 (S.D.N.Y. 2001) (plaintiffs do not have "license to plead

inconsistent assertions of facts within the allegations that serve as the factual predicates for an

independent, unitary claim            . . . Internally conflicting factual assertions that constitute integral

components of a claim must be distinguished from                 a   permissible alternative statement embodying a

theory of a whole sufficient claim.").

                The Complaint's contradictions, therefore, have practical consequences. For example, its

four fraudulent transfer causes of action require, among other things, a credible allegation that the

SC Lenders failed to provide "reasonably equivalent" value in exchange for their                  liens. But if,   as


also alleged, the SC Lenders were lending to the "single business enterprise," the value provided by




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the SC Lenders is their loans, not the performance by EPIL. And it is not disputed that the SC

Lenders agreed to provide financing, and did in fact provide financing, to the "enterprise" in

exchange for their liens. At a minimum, the four fraudulent transfer causes of action should be

dismissed as a result of these contradictory allegations.            ,Søe   Mervyn's LLC v. Lubert-Adler Grp. IV,

LLC (n re Mervyn's Holdings, LLC),426 B.R. 96,104 (Bankr. D. Del. 2010) (dismissing fraudulent

transfer claim for failure to "plead sufficient facts" and "credible allegations"). Moreover, the

Trustee's remaining causes of action rely on the same factual predicate as the fraudulent transfer

claims. These claims are therefore also contradicted by the Essar Affiliates Adversary Proceeding

and likewise should be dismissed.

              In re Fundamental Long Term Care, únc.,873 F.3d 1325,134243 (I1th Cir. 2017), is on

point. There, the Eleventh Circuit affirmed a bankruptcy court's dismissal of a Complaint that

alleged "plainly contradictory facts." Id. at 1342. The plaintiff in that case had incorporated

allegations in its complaint from a separate lawsuit that directly contradicted the allegations against

the defendant; the bankruptcy court dismissed for failure to state a claim. Id. at 1342-43; see also

Hirschv.ArthurAndersen&Co.,72F.3d 1085, 1095(2d Cir. 1995)(affirmingdismissalof                                          a


trustee's complaint for lack of standing due to contradictory allegations in complaint and facts                        of

which court took judicial notice); Oliver v. SD-3C               ZIC    No. Il-cv-01260-JSW, 2016 U.S. Dist.

LEXIS 146427, at*37-38 (N.D. Cal. Sept. 30,2016) (conclusory attempt to disclaim inconsistent

allegations fails to state a plausible claim). The Trustee's Complaint here suffers from the same

infirmity         as tn Fundamental Long Term Care, except, even more damning,                     it has incorporated

contradictory facts from related adversary actions.15


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  Gi'n"n the timing of the filing of the Complaint - nearly six months after the Effective Date, but only three weeks after
the Term Loan Lenders' opposition to the SC Lenders' motion for partial summary judgment in the New York Action          -
and given that the Trustee's allegations against the SC Lenders are so at odds with his allegations in the Essar Affiliates



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                 As the Trustee's pleadings make clear, the SC Lenders are the victims here. The Court

should dismiss the Trustee's Complaint in light of the Trustee's contradictory allegations and not

subject the SC Lenders to further financial loss in connection with this "billion dollar scam."

        il.           The Complaint Fails to State a Claim for Constructive Fraudulent Transfer

                 A constructively fraudulent transfer is one in which the transferor (a) received              less than

reasonably equivalent value in exchange for the transfer and (b) was insolvent at the time of the

transfer or was rendered insolvent thereby. See II U.S.C. $ 5a8(aX1)(B); Aphton Corp. v. Sonafi

Pasteur (In re Aphton Corp.),423 B.R. 76,89 (Bankr. D. Del. 2010);Minn. Stat. $513.44.16 When

pleading constructive fraud, "boilerplate and conclusory allegations will not suffice. Plaintiffs must

accompany their legal theory with factual allegations that make their theoretically viable claim

plausible." In re Burlington Coat Factory Sec. Litig.,114 F.3d at 1418; see, e.g., Global Link

Liquidating Trust               v. Avøntel, S.A. Qn re Global   Link Telecom Corp.),327 B.R.     lll,718     (Bankr. D.

Del. 2005) (dismissing claim that "simply alleges the statutory elements of a constructive fraud

action under section 5a8(aXl XB)"); In re Crucible Materíals Corp.,2012 Banl<r. LEXIS 5102, at

*20-21(dismissing constructive fraudulent transfer claim where the Trustee "only provides aîear




Adversary Proceeding, it is difficult not to conclude that the Trustee's Complaint is simply a means of providing cover to
the Term Loan Lenders' own (contract-breaching) Claim Objection against the SC Lenders. At a minimum, the Trustee
has acted in coordination and concert with the Term Loan Lenders, which are benefìciaries of the Trust and which,
through their agent, U.S. Bank, improperly deprived the SC Lenders of distributions under the Plan by filing the
eleventh-hour Claim Objection in violation of the Intercreditor Agreement.

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  "The elements of an avoidable transfer under UFTA or UFCA, as adopted by individual states, do not substantially
vary from the elements set forth in [the Bankruptcy Code]." Chørys Liquidating Trust v. Hades Advisors, LLC (In re
CharysHoldingCo.),No.08-10289(BLS),2010Banl,r.LEXIS2072,at*18(Bankr.D.Del.July14,2010). Assuch,
typically the court analyzes state law fraudulent transfer claims in tandem with Bankruptcy Code section 548 and applies
the same defenses. See id. (analyzíng state constructive fraudulent transfer claims under 11 U.S.C. $ 5a8(aXlXB));
Official Comm. of Unsecured Creditors v. CIT Grp./Bus. Credit, Inc. (In re Jevic Holding Corp.),No. 08-l 1006 (BLS),
201 I Bankr. LEXIS 3553, at *36 (Bankr. D. Del. Sept. 15, 2}Ll)(analyzing state actual fraudulent transfer claims under
ll    u.S.C. $ 548(aXlXA)).




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verbatim recitation of the elements of section 548').17 Here, even if the Trustee had not incorporated

the FAC byreference and the fraudulent transfer stood alone, he still would fail to adequatelyplead

a claim.

                     A. The Trustee Has Not Alleeed Any Facts in Support of His Lesal Conclusion
                           Regarding Insolvency

          The Trustee has not pleaded any facts           -   let alone specific facts   -   supporting the conclusory

allegation that the Debtors were insolvent at the time of any transfer. In fact, the Trustee is

unwilling to say, even in conclusory terms, that ESML was insolvent at the time of each challenged

transfer: "However, the Debtors were insolvent at the time that many, if not all, of these transfers

were made." Compl. fl 26 (emphasis added). Instead, in place of actual facts, the Trustee simply

provides a neat verbatim recitation of Bankruptcy Code section 5a8(a) to allege insolvency.

compare compl. fl1177, 89, with           1   1   U.S.C. $ sa8(aXl)(BXiiXI).'8


          Under the balance sheet test, a plaintiff must establish the fair value of the assets and

liabilities ofthetransferor at the time of the transfer. Peltzv. Hatten,279B.R.7l0,742-43 (D. Del.

2002)). Although the Trustee is not required to prove insolvency at the pleading stage, the

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   Constructive fraudulent transfer claims may be subject to the heightened pleading standards of Federal Rule 9(b)
although the issue is not settled. Compare Official Comm. of Unsecured Creditors v. Goldman Sachs Credit Partners
L.P. Qnre Fedders N. Am.,Inc.),405 B.R. 527,544 (Bankr. D. Del. 2009) (requiring constructive and actual fraudulent
transfer claims be plead with specificity); OHC Liquidation Trust v. Nucor Corp. (In re Oakwood Homes Corp.),325
B.R. 696, 698 (Bankr. D. Del. 2005) ("no question that Rule 9(b) applies to adversaryproceedings in bankruptcy which
include a claim for reliefunder $ $ 544 or 548, whether it is based upon actual or construclive fraud"); Pardo v. Gonzaba
(In re APF Co.),308 B.R. 183, 188 (Bankr. D. Del. 2004) (applying Rule 9(b) to fraudulent conveyance claím) with
Astropower Liquidating Trustv. Xantrex Tech. Inc. (In re Astropower LiquidatingTrust),335 B.R. 309,333 (Bankr. D.
Del.2005).
18
   Although Bankruptcy Code section 547(f) creates a presumption in preference actions that the debtor was insolvent
during the ninety (90) days preceding the petition date, no such presumption exists with respect to either fraudulent
transfer claims or preference claims challenging transfers made outside of the 90-day window. See generølly 1l U.S.C.
$ 547, 548; Harrison v. N.J. Cmty. Bank (In re Jesup & Lamont, Inc.), 507 B.R. 452,473 (Bank. S.D.N.Y. 2014)
("There is no presumption of insolvency in a fraudulent conveyance action as there is in the preference statute . . . If a
trustee shows that the debtor was insolvent at a time subsequent to the date of the alleged fraudulent transfer, the trustee
must also show that the debtors' financial condition did not change during the interim period.").




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Complaint must at least contain some factual allegation to support the Trustee's legal conclusion.

See Global          Link,32l B.R. at 718 (plaintiff failed to adequately plead constructive fraud where it

"presentfed] no information on the [d]ebtors' financial status"); Miller v. Welke (In re United Tax

Grp., LLC), Adv. No. 16-50088 (LSS), 2016Banl<r. LEXIS 4322 at *8 (Bankr. D. Del. Dec. 13,

2016) (inadequate conclusory allegations of insolvency); Zazzali v. Hirschler Fleischer, P.C., 482

B.R. 495, 520-21(D. Del. 2012) (same).

             The Trustee's obligation to plead specific factual allegations is compellingparticularlywhen

the Trustee has had ample opportunity to investigate the Debtors and the challenged transactions.

See      Dixon v. Ruth (In re Gluth Bros. Constr., Inc.), 424 8.R.368,377 (Bankr. N.D.           I11.   2009)

(dismissing fraudulent transfer claim where "[a]s the creditor trustee, the [p]laintiff should have

enough access to information on the fd]ebtor's finances to be able to allege at least some minimal

factual support"). The deficiencies in the Complaint are troubling especially here, when the

bankruptcy case has been ongoing since July 2016, the Trustee had been in place for six months

before filing the Complaint against the SC Lenders, and the Trustee evidently had ample information

to file a95-page second amended complaint against the Essar Affiliates. Indeed, the Court may take

judicial notice of the Trustee's extensive review of the Debtors' records and other documents in

connection with his duties under the Plan and Trust Agreement. See, e.g., Second Joint Motion              of

the Disbursing Agent, the SC Litigatíon Trustee, and the UC Litigation Trustee              þr   an Order

Extending Deadlinefor Filing Objections to Claims, No. 16-11626 (BLS), [D.I. 1549].

             Despite having reviewed these documents and records that contain information sufficient for

the Trustee to properly plead a claim (if one exists), the Complaint contains nothing more than

conclusory allegations and a formulaic recitation of the elements of a constructive fraudulent transfer




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under Bankruptcy Code section 5a8(a)(1)(B). It does not contain any facts accompanying its legal

conclusions that, at the time of the transfers, the Debtors weÍe insolvent.

Because the Trustee failed                    to allege any facts supporting the allegation of        insolvency, the

constructively fraudulent transfer claims must be dismissed.

                          B.     The Trustee Has Not Alleged Sufficient Facts to Support the Alleeation That
                                 the Debtors Received Less Than Reasonably Equivalent Value

              The Trustee's allegations about reasonably equivalent value are as conclusory, and as legally

defective, as his allegations about insolvency. Determining whether "reasonably equivalent value"

supported a challenged transfer requires a two-part analysis. First, "a court must consider whether,

based on the circumstances at the time of the transfer,                   it was legitimate   and reasonable to expect

some value accruing to the debtor." Pension Transfer Corp. v. Hollrah (In re Fruehauf Trailer

Corp.),444F.3d203,212 (3d Cir. 2006) (emphasis added) (citations omitted) (internal quotation

marks omitted). This condition is satisfied based on the expectation of value at the time of the

transfer, even if hindsight reveals that the expectation was inaccurate. See Mellon Bønk, N.A.                      v.


Official Comm. of Unsecured Creditors of R.M.L. (In re R.M.L.),92F.3d 139,152 (3d Cir. 1996)

("as long as there is some chance that a contemplated investment will generate a positive return at

the time of the disputed transfer, we               will find   value has been conferred") (emphasis added). Second,

if the court finds              some value existed, the next inquiry is whether the value was, at the time of the

transfer, roughly equivalent to what was given. See In re Fruehauf Trailer Corp.,444F.3d at2l2-

13.


              Based on this standard, the Complaint fails to allege the absence of reasonably equivalent

value. The Trustee is quite candid that his assessment of value is based on hindsight, focusing on the

woeful state of the Project              as   it existed in2016, rather than the conditions that existed years before




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when Defendants agreed to loan money to the Project and received security interests in exchange

therefor:

                 [As] of the Petition Date, ESML was left with a half-completed iron ore pellet plant
                 that will cost hundreds of millions of dollars more to finish; and ESML is burdened
                 with over a billion dollars in claims asserted against it that are directly attributable to
                 the failures of Essar Global and its numerous affiliates . . . to fulfill their obligations
                 with respect to the Project.

Compl. fl 2 (emphasis added). While the bankruptcy petition was filed in20l6, the initial transfer of

the security interests to the SC Lenders occurred with the extension of their loans in 2010. See id. at


fl 23; Bailey Decl., Ex.            A.   The Trustee's constructive fraudulent conveyance claims fail because he

has not adequately alleged that ESML did not receive fair value at the time of the                 transferin 2010.Ie

See, e.g., Global               Link,327 B.R. at 718 (dismissing constructive fraud claim due to lack of

information on the value of what was received in exchan ge); OHC Liquidation Trust v. Discover Re

(Inre Oakwood Homes Corp.),3428.R.59,70 (Bankr. D. Del. 2006) ("reasonable equivalence [is]

determined as of the date of the transfer." (emphasis added)) (citing In re R.M.L.,92F.3d at 154;

Peltz,279B.R. at73l); see also Duke and King Mo., LLC v. Nath Cos. (In re Duke and King Acq.

Corp.),508 B.R. 107,134 (Bankr. D. Minn. 2014) (under Minnesota law).

                           C. The Complaint      Demonstrates that the Loan Proceeds Provided by Defendants.
                                    EPIL' Contract   P              Was the Value            for the Securi
                                Interests

                 This Complaint is legally untenable for what        it   admits as a well as what     it omits. This

Complaint o'talks its way out" of a valid fraudulent transfer claim. Villareql,839 F.3d at 97I


t9
    Th" Trustee's improper hindsight analysis is also reflected in his strange focus on EPIL's supposed blunder in
securing supplier credit facilities in Indian rupees rather than U.S. dollars. See Compl. fl 33. How EPIL was supposed to
divine, in 2010, that the exchange rate would shift in an unfavorable way years down the road, and how this idea even
fits into fraudulent transfer law, is unexplained in the Complaint. But for the bare assertion that the SC Lenders "should
have known" that the unfavorable exchange rate allegedly would result in a funding shortfall, it is difficult to asçertain
how the Trustee seeks to hold the SC Lenders responsible for the alleged deterioration in the rupee-dollar exchange rate.
See    id.   atll12.


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("plaintiff      . . . canpleadhimself out   of court."); Best Canvas,773F.2dat627 ("party isboundbythe

admissions in his pleadings."). The Trustee's effort to characterize EPIL's inept or incomplete

contract performance (as of 201 6) as the consideration for transfers made, directly or indirectly, to

Defendants years prior is impeached within the four corners of the Complaint as well as by key

transaction documents upon which the action relies but which the Trustee tries to downplay.

            It is now well-established that value supporting a transfer can be indirect, especially when the

value flows to an affiliate of a corporate transferor. See Mellon BankN.A. v. Metro Commc'ns, Inc.,

945 F.2d 635 (3d             Cir. 1991) (reasonably equivalent value for   a debtor guaranteeing an     affiliate's

debt can be strengthening of the corporate group); Leibowitz v. Parlouay Bank & Trust Co. (In re

Image Worldwide Ltd.), 139 F.3d 574,518-79 (7th Cir. 1998) (indirect benefits may include inter-

corporate "synergy" and safeguarding a source ofsupply).

            Moreover, when two affiliated corporations operate "as a single economic unit, it is virtually

impossible for money to have been advanced to one without benefit to the                          other." In re
Augie/Restivo Baking Co., Ltd.,87 B.R. 242,247 (E.D.N.Y. 1988). Here, the Complaint leaves no

doubt that EPIL, ESML and other Essar Affiliates existed as a "single economic unit" to develop the

Project, and that Defendants' loans were critical to the Project.          ^See
                                                                                  FAC ufl 5, 369; Compl. fl 3. The

Complaint could not be more candid and emphatic about ESML's alter ego status. The Trustee is

bound by the allegation that ESML and EPIL were part of the same economic unit, and so the benefit

of Defendants' loans to ESML was not indirect. Rather, Defendants loaned money directly to                        a


singular "Essar " notwithstanding the formal but sham appearance of separateness between EPIL and

ESML. Because the loan to the Debtors (i.e.,the single business enterprise) was direct, the value

exchanged for the security interest was the money lent, not EPIL's contract performance.




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          III.        The Complaint Fails to State a Claim for Actual Fraudulent Transfer

                The Trustee's Causes of Action alleging actual fraudulent transfer fail for the same reasons

as set forth with respect to constructive fraudulent transfer above. These claims fail for the

additional reason that the Trustee has not adequately alleged the requisite intent of the transferor. To

avoid an actual fraudulent transfer, a plaintiff must show that the transfer was made with "actual

intent to hinder, delay or defraud any creditor of the debtor."           1   1   U.S.C. $ 5a8(aX1)(A); Minn. Stat.

$ s13.44.

                A claim for actual fraudulent transfer must satisfy the heightened particularity requirements

of Rule 9(b).

           'To satisfy this standard, the plaintiff must plead or allege the date, time        and place of the
           alleged fraud or otherwise inject precision or some measure of substantiation into a fraud
           allegation.' The rigor with which Rule 9(b) is applied has been relaxed in some instances
           'where the factual information is peculiarly within the defendant's knowledge or control.'
           But the relaxed application requires that a 'complaint must delineate at least the nature and
           scope ofplaintiffs' effort to obtain, before filing the complaint, the information needed to
           plead with particularity.' At all events, 'conclusory allegations will not suffice.'

Friedbergv. Bareþot Architect, lnc.,723 F. App'x 100, 103 (3d Cir.2018) (intemal citations

omitted); see also Bd. of Trs. of Teamsters Local 863 Pension Fund v. Foodtown, Inc.,296F .3d 164,

173 n.101 (3d              Cir. 2002); In re Oah,vood Home Corp.,325 B.R. at 698; In re Duke and King Acq.

Corp.,508 B.R. at I34.

                 First, the Trustee's intentional fraudulent transfer claims fail even without regard to the strict

requirements of Rule 9(b). There is no allegation in the Complaint that the Debtors transferred

assets        with an intent to defraud creditors.2o Instead, the Complaint offers the conclusory, passive



20
  It is the transferor's intent that determines whether actual fraud has occurred . SB Liquidation Trust v. Preferred
Bank (In re Syntax-Brillian),573 F. App'x 154. (3d Cir. Aug. 11,2014); se¿ also Minn. Stat. $ 513.44 (transfer
voidable if the debtor made the transfer or incurred the obligation with actual intent to hinder, delay, or defraud any
creditor of the debtor); In re Duke and King Acq. Corp.,508 B.R. at 134 ("[I]f a transfer is to be avoided under the



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voice allegation that each "of the . . . Fraudulent Transfers was made with the actual intent to hinder,

delay, or defraud present or future creditors" without specifying who harbored such intent. Compl.

11[    64, 9I; see Miller v. Greenwich Capital Fin. Prods. (In re Am. Bus. Fin. Servs., Inc.),362

8.R.149, 156 (Bankr. D. Del. 2007) (dismissing intentional fraudulent transfer claim where

allegations of fraud were not sufficiently particular because "[t]o provide fair notice the complainant

must go beyond merely parroting statutory language.").

              Second, the Complaint's conclusory allegations of fraud in the "Cause of Action" section are

not supported by, and indeed are contradicted by, the narrative factual section ofthe Complaint. The

gist of the narrative section of the Complaint is that ESML got a bad deal, in retrospect, because it

ultimately received materially defective contract performance from EPIL. There is not the slightest

hint that any actor involved in the Transfers was motivated by thoughts of defrauding or delaying

ESML's unsecured creditors. To the contrary, the Complaint freely admits the motives behind the

underlying transactions         :



         The decision to restructure the contracts governing the Project through the 2010 Project
         Contracts was made largely Io minimize U.S. tax liability, as well asto take advantage
         of the additional lending secured through EPIL ffrom Defendants] . . . To do this, the
         2010 Project Contracts reallocated a substantial portion of the procurement obligations
         in existing Project Contracts to EPIL.

Compl.         I22      (emphasis added). See PHP Liquidating, LLC v. Robbins (In re PHP Healthcare

Corp.),128 F. App'x 839,847 (3dCir.2005) (dismissal of actual fraudulenttransferclaimunderthe

Bankruptcy Code and state law           ,ryas   proper where the plaintiff failed to allege any facts regarding

actual intent).

              An intent to defraud creditors is not only at odds with the facts as alleged in the Complaint

but, in this case, incurably implausible. There is nothing in the Complaint to suggest that the

rubric of actual fraud, Plaintiff must prove that the transferring debtor itself harbored the requisite intent to hinder,
delay, or defraud.").



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Defendants were anything but arm's length creditors, no less than the other secured lenders. Shifting

assets from one arm's length creditor to another does not serve the kind of asset-hiding/protecting

motive that is the stuff of intentional fraudulent transfer claims. See, e.g., Henry v. Lehman

Commercial Paper, Inc. (In re First All. Mortg. Co.), 471 F .3d 977 , 1008 (9th Cir. 2006) (citing

Pioneer Liquidating Corp. v. San Diego Trust                         &   Sav. Bank (In   re Consol. Pioneer Mortg.

Entities), 21 1 B.R. 704,7I7 (S.D. Cal. 1997)) (discussing the "original" fraudulent conveyance law,

the Statute of Elizabeth) þurpose of fraudulent transfer law is "to protect creditors from last-minute

diminutions in the pool of assets in which they have interests. . . . [P]ayment to a fully secured

creditor does not hinder, delay or defraud creditors because it does notput assets otherwise available

in a bankruptcy distribution out of their rea"h."); see also Sharp Int'l Corp. v. State             St.   Bank & Trust

Co. Qn re Sharp                  Int'l Corp.),403 F.3d 43,55-56 (2d Cir.2004)   (o'New York fraudulent conveyance

law is . . . primarily concemed with transactions that shield company assets from creditors, not the

manner in which specific debts were created."). Preferences between creditors are not unlawful. See

id.; Boston Trading Grp., Inc. v. Burnøzos, 835 F.2d 1504 (1st Cir. 1987) ("The basic object of

fraudulent conveyance law is to see that the debtor uses his limited assets to satisfy some of his

creditors; it normally does not try to choose among them.").

                      In all material respects this case is identical to In Re Fedders North America, ünc.,405 B.R.

527 (DeL Bankr. 2009) (Shannon, J.), and should lead to the same result. There, as here, the

complaint asserted amyriad of wrongs committed by various corporate insiders. There,                        as here, the


complaint also asserted fraudulent transfer claims against two prepetition secured lenders. The

Court dismissed the fraudulent transfer claims, both intentional and constructive, against the lenders.

See           id. at 545,541.




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             Acknowledging that intent can be alleged and proven circumstantially via "badges" of fraud,

the court nonetheless found the allegation ofjust one badge, insolvency at the time of the transfer, to

be insuffici ent. Id. at 545         . As noted above,    the Trustee's wholly conclusory allegation of insolvency

fails to adequately allege that single badge. The Trustee does not even name, let alone attempt to

support with facts, any other recognized badge of fraud. There are no bødges qffraud identi.fìed in

the Complaint.

              The Fedders court went on to observe that the disclosure of the debtor's transactions with

the secured lenders in publicly filed documents "and the absence of facts indicating anything other

than an arm's length relationship between Fedders and the Lenders" were simply inconsistent with a

claim of intentional fraud.             Id.   The same observations apply to the Defendants' dealings with

ESML. While the security interest provided by ESML to the SC Lenders was not publicly filed, it

was acknowledged to ESML's other secured lenders                        -   the Project Finance Lenders and the Term

Loan Lenders            -     in a shared security agreement and the Intercreditor Agreement, among other

documents. See Compl.l25; Bailey Decl., Exs. I,                    J.


             There is an additional absurdity here not found in the Fedders case. As transaction

documents identified              in the Complaint   demonstrate, ESML's assets cross-collateralized loans

advanced by two other sets of lenders in addition to the Defendants here. Avoiding or diminishing

the Defendants' security interests            will only   serve to increase the share of collateral available to the

other secured lenders and, in particular, the share of the Term Loan Lenders, who have sought to

deprive the SC Lenders of their distributions under the Plan via the eleventh-hour Claim Objection

filed in violation of the Intercreditor Agreement. It is no coincidence that this action was motivated

by, and is a copycat of, the Claim Objection filed by the Term Loan Lenders.




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      IV         The Trustee's Claim for Relief Under 11 U.S.C. $ 502(d) is, at Best, Premature and
                 Must Be Dismissed

           The Trustee's claim for disallowance or reduction of the SC Lenders' claims pursuant to                   11


U.S.C. $$ 502(b) and (d) (the Sixth Cause of Action) is premature and must be dismissed because

the Trustee merely seeks, but has not obtained,           a   judicial determination on the fraudulent transfer

counts (the First through Fourth Causes of         Action). In In    re Lids Corp., the Court addressed similar

circumstances and held: "[t]o disallow a claim under section 502(d) requires ajudicial determination

thataclaimant is liable." 260 B.R. 680, 684 (Bankr. D. Del. 2001). There, likehere, thebankruptcy

trustee merely had filed a cause of action seeking disallowance of claims pursuant                 to 1 I U.S.C. $

502(d) but had not obtained a judicial determination against the transferee. Id. The Court dismissed

the count, concluding that where the bankruptcy trustee "has merely commenced an adversary

proceeding; that is not enough . . . Until the [trustee] obtains         a   judgment against fthe transferee], . .

. section 502(d)            is not applicable." Id.; see ølso Beskrone v. OpenGate Capital Grp. (In re

PennysaverUSAPubl'g,LLC),5878.R.445,468(Bankr.D.Del.2018)(dismissingsection502(d)

count where Court held that judicial determination on avoidance complaint is "a prerequisite to a

claimunder[s]ection502(d)."); InreAgFeedUSA,ZZC,No.                       I3-Il76I (BLS),2015Bankr.LEXIS
1403,at *11 (Bankr. D. Del. Mar. 1I,2015) (directingpayment on a claim where "themere

allegation of recovery under Chapter 5 of the Bankruptcy Code is insufficient to disallow [a

claim].").

           The Sixth Cause of Action in the Complaint is predicated entirely on the Trustee's success on

the First through Fourth Causes of Action of the instant adversary proceeding. See Compl.                  '1llÌ   104-

06.21 Critically, the Trustee does not even allege         -   much less proffer a single well-pleaded fact that



"   The allegations contained in those paragraphs in the Complaint are that:




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would tend to establish - that the Trustee has obtained the requisite judicial determination mandated

by Lids and its progeny. And, obviously, the Trustee cannot at this point in time make such

allegation or otherwise satisfy the legal standard established by Lids. Accordingly, the Trustee's

claim for disallowance or reduction of the SC Lenders' claims must be dismissed as premature.

     V.        The Trustee Has Not and Cannot State a Claim for Equitable Subordination Under
               11 U.S.C. $ s10(c)

          The Trustee has failed to plead any facts whatsoever that would warrant equitable

subordination of the SC Lenders' claims. "The party seeking to subordinate a claim has the initial

burden of coming forward with material evidence to overcome the prima facie validity accorded to

prooß of claim." United States v. State            St.   Bank    & Trust Co., 520 B.R. 29, 80 (Bankr. D. Del.

2014). Three conditions must be satisfied before exercise ofthe power of equitable subordination is

appropriate: (1) the claimant must have engaged in some type of inequitable conduct; (2) the

misconduct must have resulted in injury to the creditors of the bankrupt or conferred an unfair

advantage on the claimant and (3) equitable subordination of the claim must not be inconsistent with

the provisions of the Bankruptcy Code. Shubert v. Lucent Techs. Inc. (In re Winstar Comm'ns.,

Inc.),554 F.3d 382, 411 (3d Cir.2009). Bankruptcy Courts routinely dismiss counts for equitable

subordination where, as here, the plaintiff fails to plead facts sufficient to establish all three

requirements. See In re Jevic Holding Corp.,2011 Bankr. LEXIS 3553, at x47-48 (dismissing

equitable subordination claim where committee did not sufficiently plead inequitable conduct);

Official Comm. of Unsecured Creditors of Champion Enters. v. Credit Suisse (In re Champion


          SC Lenders are transferees of certain . . . Fraudulent Transfers avoidable under section 544 of the
          Bankruptcy Code. SC Lenders have not repaid the amount of the . . . Fraudulent Transfers, or tumed
          over such property to the Debtors, for which SC Lenders are liable under section 550 of the
          Bankruptcy Code. Pursuant to section 502(d) of the Bankruptcy Code, any and all claims of [the] SC
          Lenders, including those asserted in Claim No. 144 and Claim No. 154, against the Debtors must be
          disallowed until such time that SC Lenders pays [sic] to Plaintiff an amount equal to the aggregate
          amount ofthe Fraudulent Transfers received by SC Lenders, plus interest thereon and costs.



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Enters.), Adv. No. 10-50514 (KG), 2010 Banla. LEXIS 2720, at *18, 22 (Bankr. D. Del. Sept.                                  1,


2010) (same)

                         A. The Trustee's Contention   that the SC Lenders Engaged in Inequitable
                              Conduct is Entirely Unsubstantiated

             The Trustee does not plead that the SC Lenders                   - traditional,    non-insider lenders to the

Debtors who acted within the scope of normal lender-borrower behavior                            -   engaged in inequitable

conduct. "The most important factor in determining if               a claimant has engaged in           inequitable conduct

for the purposes of equitable subordination is whether the claimant was an insider or outsider in

relation to the debtor at the time of the act." In re Mid-Am. Waste                   Sys.,   1nc.,284 B.R. 53 , 69 (Bankr.

D. Del. 2002). 'When a defendant is not an insider, evidence of "more egregious conduct such                               as


fraud, spoliation or ovelTeaching is necessary." In re Winstar Commc'ns, lnc.,554 F.3d at4l2; see

InreJevic Holding Corp.,20ll Bankr. LEXIS 3553,atx47-48 (dismissing equitable subordination

claim where committee did not sufficiently plead non-insider engaged in fraud, spoliation or

overreaching).

             "In the context of       a lender-defendant, courts have refused to apply insider status absent a

showing of a high level of control by the lender." In re Champion Enters.,2070 Bankr. LEXIS

2'720, at *18, 22 (dismissing count were the committee did not allege that defendant-lenders "took

any actions that were outside their rights under the lapplicable agreement] or normal lender

behavior."). The Trustee has not alleged that the SC Lenders were insiders; nor does the Trustee

allege that the SC Lenders exercised any control over the Debtors. Accordingly, there is no basis to

conclude that SC Lenders are insiders of the Debtors. Consequently, in order to establish                        a   claim for

equitable subordination           -   in order for the Trustee to state   a   claim for relief- the Trustee must plead

that the SC Lenders, as non-insiders, engaged in "more egregious" behavior. The Trustee has not so

pleaded.


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           As a matter of law, "obtaining a security interest             -   without more    -   is not inequitable

conduct." Walnut Creek Míníng Co. v. Cascade Inv., LLC (In re Optim Energy, LLC),527 8.R.169,

171 (D. Del. 2015). Rather, "[t]he party must have engaged                         in some parallel behavior    that

demonstrates that           it unfairly obtained the security interest." 1d. In Optim Energy, the Delaware

District Court affirmed the bankruptcy court's order dismissing               a   count for equitable subordination

where the plaintiff merely alleged that a lender engaged in a transaction that was designed to

"priontize [the lender's] interest 'senior to trade creditors' and 'ahead of other bona fide creditors of

the business."'         Id.   The court reasoned that the allegation "merely describefd] the mechanics of

secured versus unsecured           lending." Id.

           Likewise, in In re Champíon Enters., the Court dismissed an equitable subordination count

that merely described normal lender-borrower interactions. 2010 Bankr. LEXIS 2120, at*25-26. In

that case, non-insider lenders acknowledged amending a credit agreement to achieve increased

interest rates, amendment fees, prepayments, and additional collateral, "thereby improving fthe non-

insider lenders'l position and shifting credit risk from the fnon-insider lenders] to others." Id. at*25.

The Court determined that "inequitable conduct requires behavior far more egregious than fthe non-

insider lenders'] actions related to amending [the credit agreement] ."              Id. Cntically, the Court found

that the complaint did not allege that the non-insider lenders' actions "violated the [applicable credit

agreement], applicable law, or even that the terms of the amendments are beyond the scope                         of

normal lender-borrower agreements in distressed debt negotiations." Id. at*26. The Courtheldthat

"fn]ormal lender conduct does not amount to inequitable conduct for equitable subordination

purposes" because "[c]ourts commonly recognize that a lender's goal 'to recoup the most amount of

money as possible on [its] . . . loans, [is] an understandable and permissible desire."' Id. (internal

citations omitted).



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            Here, as in Optim Energy and Champion Enters., the Trustee alleges merely that the SC

Lenders engaged in normal lender-borrower agreements, obtaining                  a   lien on and security interest in

the Debtors' collateral. The Trustee's allegations do not rise to the level of "more egregious

conduct" necessary to maintain an action for equitable subordination. Specifically, the Trustee

claims that "by seeking security interests in the Debtors' property, the SC Lenders effectively

represented that they would provide the $182.15 million of financing that was required to complete

the Procurement Obligations under the Supply and Engineering Contract." Compl. n                          n2.    The

Trustee then asserts that "the rupee-dollar exchange rate continued to deteriorate as ESML executed

the Minnesota Mortgage and, later, the Amended Security Agreement                       -   both of which ultimately

accrued to the SC Lenders' benefit."           Id.   Finally, the Trustee speculates "[a]s of the date of the

Amended Security Agreement, the SC Lenders' [sic] should have known that there was a financing

shortfall of $30-40 million. The SC Lenders made no effort to remedy the financing shortfall." .Id

Assuming arguendo the Court ignores that the Trustee has utterly failed to proffer any well-pleaded

facts that warrant the Court's consideration,22 even             if   the Court indulges the Trustee's liberal

construction of the pleading standard and accepts his contentions as fact, nothing therein rings of

fraud, spoliation or overreaching. As in Champion Enters., the allegations here do not describe the

SC Lenders' actions as violating any credit agreement, applicable law or even that the SC Lenders'

actions were beyond the scope of normal lender-borrower conduct. Because the Trustee has failed to

allege anything other than normal lender-borrower behavior                   -   much less fraud, spoliation or

overreaching        -   the Trustee cannot make   outaprimafocie claim for equitable subordination,           and the


Seventh Cause of Action must be dismissed.

22*Th"trusteebearstheburdenofpresentingmaterialevidenceofunfaircond:ucl."
                                                                                      SeeInrel4/instarCommc'ns, Inc.,
554 F.3d af 412. "Particularized fact pleading regarding the allegedly egregious behavior is required." In re Champion
Enters.,20l0 Banl,r. LEXIS 2720, at*24.



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                         B.    The Trustee Has Not Allesed Facts to Show Iniurv to the Creditors or
                               Conferrins of an Unfair Advantaee on the SC Lenders

              Moreover, where "there is no inequitable conduct, there can be no resulting harm incuned by

the estate or its creditors." Bank of N.Y. Mellon Trust Co., N.A. v. Miller (In re Franklin Bank

Corp.),526 B.R. 527,534 (D. Del. 2014). That is because "a creditor's claim should onlybe

subordinated to the extent necessary to remedy the harm caused by that creditor's misconduct." In

re Winstar Comm'ns., lnc.,554 F.3d at 4I3. Because the Trustee has not alleged any facts to

support the assertion that the SC Lenders behaved inequitably, he cannot establish that the Debtors'

creditors suffered injury or that the SC Lenders enjoyed any unfair advantage. And the Trustee's

conclusory allegations to the contrary do not make it so.

              At bottom, even if the Court were to find that the Trustee sufficiently alleged that the SC

Lenders behaved inequitably, the Trustee plainly has not pleaded a single fact to support the

assertion that the Debtors' creditors sustained any injury or that the SC Lenders obtained an unfair

advantage. As with the Trustee's inequitable behavior assertions, here the assertions are fatally

infirm. Using the passive voice,               and with no facts supporting his assertions, the Trustee contends

that "creditors have been misled as to the true financial condition of Plaintiff, have been induced to

extend credit and/or provide services without knowledge of the actual facts regarding                  Plaintifß' [sic]

financial condition, and are less likely to recover the full amounts due to them because of the ISC

Lenders'] conduct." Compl.                1J   111. Because the Trustee does not         -   and due to the deficient

inequitable conduct assertions cannot              -   articulate with any particularity any facts to establish harm to

any creditor or identify any unfair advantage to the SC Lenders, for this additional reason, the

Seventh Cause of Action must be dismissed.




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                              C. Equitable Subordination. in this Case. Is Inconsistent with the Provisions of
                                    the Bankruptcy Code Because the SC Lenders' Claims Should Be Allowed in
                                    Full

                    Finally, in addition to finding (i) that the SC Lenders' behavior,   as pleaded   by the Trustee, is

not inequitable and (ii) that the Trustee has not alleged              -   and cannot allege   - any injury to creditors
or any advantage conferred on the SC Lenders, equitable subordination in this case is inconsistent

with other provisions of the Bankruptcy Code. In particular, the SC Lenders' claims should be

deemed allowed claims under Bankruptcy Code section 502 because the Plan and the Intercreditor

Agreement evidence the intent of the Debtors and the other secured lenders to treat the SC Lenders'

cla;rms pari passu                 with the other secured lenders' claims, which have been allowed and all of whom

have received the distributions to which they were entitled under the Plan. Equitable subordination

is a "remedial rather than penal" doctrine designed "to undo or to ofßet any inequality in the claim

position of a creditor that will produce injustice or unfairness to other creditors in terms of the

bankruptcy results." Citicorp Venture Capital, Ltd. v. Comm. of Creditors Holding Unsecured

Claims, 323 F.3d 228, 233-34 (3d Cir. 2003) (internal citations omitted). Because the Trustee

cannot set forth facts to support a single factor required to subordinate the SC Lenders' claims and

only unfaimess to the SC Lenders would result from subordination, the Seventh Cause of Action

must be dismissed.

           VI.           The Fifth Cause of Action in the Complaint Seeking Declaratory Relief Also Fails to
                         State a Claim

                    The Fifth Cause of Action must be dismissed because the Trustee fails to plead facts

supporting the claim that the SC Lenders' security interests are invalid. The Trustee merely pleads

that the "mortgage and security interests and all parts thereof are null, void, and ofno force or effect

because ESML did not receive any consideration for the granting                       of the mortgages and security

interests." Compl. fl 99. This declaratory judgment cause of action is merely                       a rephrasing   of the


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Trustee's other causes of action. For the same reason that those causes of action fail   - specifically,
because the Trustee's contradictory allegations render his claim         for relief implausible   -   the

declaratory judgment cause of action also must be dismissed. See, e.g., Tisdale v. Kaufman and

Broad Mortg. Co.,No. A-17-CA-810-SS, 2017 U.S. Dist. LEXIS 164423,at *10 (W.D.Tex. Oct.4,

2017) (request for declaratory judgment "facially implausible and must be dismissed"); Rudeen v.

Allstate Ins. Co., No. 3:16-CV-1827 (MPS), 2018 U.S. Dist. LEXIS 45252, at*20-21(D. Conn.

Mar. 20,2018) (dismissing claim for declaratory judgment where plaintiffls interpretation of

contract is "implausible").




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                                          CONCLUSION

            For the foregoing reasons, the Complaint should be dismissed, with prejudice, in its

entirety.

Dated:November 5,2018                                                            B LLP
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